               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:16 cr 56-1


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )                   ORDER
                                             )
YUMARKUA LITTLEJOHN.                         )
______________________________________       )


       THIS MATTER has come before the undersigned pursuant to an Unopposed

Motion to Withdraw Due as Counsel of Record and Request to Appoint Substitute

Counsel (#18) and an Unopposed Motion to Withdraw Motion to Withdraw as

Counsel of Record (#22). It appearing that good cause has been shown for the

granting of the motion to withdraw the motion to withdraw (#22), the motion will

be allowed.

                                   ORDER

       IT IS, THEREFORE, ORDERED that the Unopposed Motion to Withdraw

Motion to Withdraw as Counsel of Record (#22) is ALLOWED and the Unopposed

Motion to Withdraw Due as Counsel of Record and Request to Appoint Substitute

Counsel (#18) is considered to be DENIED.


                                         Signed: June 14, 2016




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